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lN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE _` g
WESTERN DlViS|ON 05 JUN 30 m 3 bg

 

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uNiTED sTATEs oF AMERch w>b crm treats
Plainuff
vs. l
cR. No. 04-20464-0
04-20471-0
cHARLoTTE cRAWFoRo

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a change of plea hearing on June 22, 2005. At that timel
counsel for the defendant requested a continuance of the hearing in order to allow for
additional preparation in the case. l .

The Court granted the request and reset the hearing to Mondag¢l July 25l 2005l
at 1:15 p.m., in Courtroom 3. 9th Floor of the Federal Bui|ding, Memphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T |S SO ORDERED thisi?fz day Of June, 2005.

 

This doct ment entered on the docket sheet ln compliance
with Fl.lle 55 andfor 32lt)) FRCrP on ' '

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UNITED S`ATE DISTRICT COURT - WE"ERNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case 2:04-CR-20471 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

